                    Case: 1:19-cv-02606 Document #: 6 Filed: 05/29/19 Page 1 of 2 PageID #:19
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
SAJ GROUP, LLC

                                                                 CASE NUMBER:       19-cv-02606
                                V.                               ASSIGNED JUDGE:
                                                                                    Hon. Robert W. Gettleman
 OETTINGER DAVIDOFF AG, et. al.                                  DESIGNATED
                                                                 MAGISTRATE JUDGE: Hon. M. David Weisman


                    TO: (Name and address of Defendant)
       Gerald Bernard Gallery, Inc.
       Burkelaw Agents Inc.
       330 N. Wabash Ave., 21st Floor
       Chicago, IL 60611


          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 Matthew Topic
                 Loevy & Loevy
                 311 N. Aberdeen St., 3rd Floor
                 Chicago, IL 60607


                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                    April 22, 2019
     (By) DEPUTY CLERK                                                              DATE
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